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NOPD CONSENT DECREE MONITOR
NEW ORLEANS, LOUISIANA




                                                                                202.747.1902 direct
                                                                                jaronie@sheppardmullin.com
December 13, 2018
                                                                                File Number: 37PA-191555

Sunni J. LeBeouf, Esq., City Attorney
City of New Orleans
1300 Perdido Street, Suite 5E03
New Orleans, LA 70112

Dear City Attorney LeBeouf:

Judge Morgan asked us to respond to the four specific requests set forth in your letter
to her dated December 6, 2018.

With respect to your objection to televising the January proceedings, while we continue
to believe televising the event would have been a more effective way to share NOPD’s
successes and ongoing work with the public, Judge Morgan understands the City, not
the Court, controls the resources necessary to televise an event such as this in its
entirety. Accordingly, we will go forward at Loyola New Orleans School of Law as
planned on Friday, January 25, 2019, but will not be broadcasting on public access
television. The media, however, including television, will be invited to attend, and, as
always, David and I will make ourselves available to them afterward to answer
questions. Judge Morgan takes seriously the Court’s obligation to keep the citizens of
New Orleans informed about the progress of Consent Decree compliance and believes
this is an appropriate time and venue.

Additionally, the Monitoring Team will schedule its next community meeting for the
week of February 18th to provide the public an opportunity to comment and/or ask
questions about our January 25th presentation. We will provide you with the time and
location of the event once it is finalized.

With respect to your remaining requests, your request that we copy you on all
correspondence with City personnel, including the NOPD, is inconsistent with the
terms the City negotiated and incorporated into the Consent Decree, which provide the
Monitoring Team “full and direct access to all City and NOPD staff, employees, critical
incident crime scenes, and facilities . . . .” (P 471) This provision ensures that all
employees can engage in frank and candid discussions with the Monitoring Team
without fear of reprisals from the City. This approach has proven to be of great value
to the Monitoring Team, and has allowed our team to work closely and effectively with


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NOPD to accomplish the reforms required under the Consent Decree. Changing that
now would be inconsistent with the Consent Decree and would not be approved by
Judge Morgan because it would risk creating a chilling effect on NOPD and City
personnel. While we have been willing to include you on much correspondence to date
as an accommodation to help you get up to speed concerning NOPD’s implementation
of the Consent Decree, and remain willing to continue that practice, we cannot agree to
be bound to do so on all correspondence.

Similarly, we also cannot agree to your request to be notified of all meetings “with the
Court and/or with the monitors.” Such an approach would be inconsistent with
Consent Decree paragraph 470, which provides “[t]o facilitate its work, the Monitor
may conduct on-site visits and assessments without prior notice to the City and NOPD.”
While we conduct unannounced visits only rarely, the continued availability of this tool
is important to ensure the Monitoring Team is able to assess the substance of NOPD’s
performance without concern that compliance has been staged for our benefit.

Lastly, we agree with your final request that the work of the Monitoring Team “be
focused exclusively on accomplishing the work of the Consent Decree/constitutional
policing matters . . . .” Since the outset of the Consent Decree, the Monitoring Team
has been vigilant in ensuring our activities stay within the four corners of the Consent
Decree. As you know, paragraph 445 of the Consent Decree clearly states “[t]he
Monitor shall not, and is not intended to, replace or assume the role and duties of the
City and NOPD, including the Superintendent.” We keep this directive in mind every
day and vigilantly adhere to our role as providing oversight, public accountability, and
technical assistance as outlined in the Consent Decree.

As I believe the City knows by now, the Monitoring Team remains impressed by the
progress the NOPD has made to date. It is a testament to the hard work of the men
and women of the Department and to the commitment, discipline, and forward
thinking of the Department’s current leadership. Nevertheless, the basis for your
statement that the Department is “at 93% compliance” is unclear. As you know,
substantial work remains to be done in, among other areas, Bias-Free Policing,
Community Policing, Performance Evaluations, and Stops, Searches, and Arrests
before the NOPD will achieve compliance with the Consent Decree’s requirements.
These areas go to the very heart of the reforms called for under the Consent Decree,
and are essential to safeguarding the constitutional rights of New Orleans’ residents.
While we cannot say, based on our monitoring, that the Department will be in full and
effective compliance in those areas in the “very near future,” we certainly agree the
Department’s overall progress to date has been admirable– especially considering the
Department’s slow start. We have made our views in this regard known at every
recent public hearing, and will do so again in January.

We are very happy the City shares our commitment to ensuring the NOPD achieves
full and effective compliance with the Consent Decree. We look forward to continuing
to work closely with the Department and the City to finish the job we all started.

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Should you wish to discuss your concerns further, feel free to give me a call.

Very truly yours,




Jonathan S. Aronie
For SHEPPARD MULLIN RICHTER & HAMPTON LLP*
2099 PENNSYLVANIA AVE., N.W., SUITE 100
WASHINGTON, DC 20006

CC:   HONORABLE SUSIE MORGAN (VIA ELECTRONIC MAIL)
      JUDE VOLEK, DEPARTMENT OF JUSTICE (VIA ELECTRONIC MAIL)
      MAYOR LATOYA CANTRELL (VIA ELECTRONIC MAIL)
      CHIEF OF POLICE MICHAEL HARRISON (VIA ELECTRONIC MAIL)
      COUNCIL PRESIDENT JASON WILLIAMS (VIA ELECTRONIC MAIL)
      COUNCIL VICE PRESIDENT HELENA MORENO (VIA ELECTRONIC MAIL)




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